
PER CURIAM.
The appellant, Devon A. Brown, sued the appellee, Kali D. Brown (the mother of their minor children) for the allegedly-unauthorized use of his Social Security number, violation of his constitutional privacy rights, and identity theft. The appellant's pro se complaint sought $ 150,000.00 in compensatory damages. The face of the complaint and undisputed pleadings, however, reveal that the complaint was based exclusively on the appellee's use of Devon Brown's name and Social Security number to enforce his child support obligations through a Department of Revenue Florida Child Support Enforcement proceeding. See §§ 409.2551 - 409.25656, Fla. Stat. (2018).
On such a record, the allegations are legally insufficient to state a claim, amendment would be futile, and no error has been shown.
Affirmed.
